Appellate
      Appellate
          Case: Case:
                23-1135
                      23-1135
                           Document:
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                                     010110917742
                                          66 Date Filed:
                                                   Date 09/12/2023
                                                         Filed: 09/12/2023
                                                                       Page: Page:
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                        UNITED STATES COURT OF APPEALS
                             FOR THE TENTH CIRCUIT

      ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
                           PARTIES




     v.                                                     Case No.


                  ENTRY OF APPEARANCE (10th Cir. R. 46.1(A))
        In accordance with Tenth Circuit Rule 46.1, the undersigned attorney(s) hereby appear(s)
 as counsel for:

 ______________________________________________________________________________
                                 [Party or Parties] 1

 ______________________________________________________________________________


 ____________________________________________________, in the above-captioned case(s).
        [Appellant/Petitioner or Appellee/Respondent]



 ______________________________________               ______________________________________
 Name of Counsel                                      Name of Counsel

 ______________________________________              ______________________________________
 Signature of Counsel                                 Signature of Counsel

 ______________________________________              ______________________________________
 Mailing Address and Telephone Number                Mailing Address and Telephone Number

 ______________________________________              _____________________________________
 E-Mail Address                                       E-Mail Address




 1
  Counsel must list each party represented. Do not use “et al.” or generic terms such as
 “Plaintiffs.” Attach additional pages if necessary.
Appellate
      Appellate
          Case: Case:
                23-1135
                      23-1135
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                                                                       Page: Page:
                                                                             2     2




       CERTIFICATE OF INTERESTED PARTIES (10th Cir. R. 46.1(D))



 Pursuant to Tenth Circuit Rule 46.1(D), the undersigned certifies2 as follows:

     The following (attach additional pages if necessary) individuals and/or entities are not
        direct parties in this appeal but do have an interest in or relationship to the litigation
        and/or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
        entering an appearance in this court, but who have appeared for a party in prior trial or
        administrative proceedings, are noted below.




     There are no such parties/attorneys, or any such parties/attorneys have already been

        disclosed to the court.



 _________________________
 Date

 _______________________________________
 Signature




 2
   Pursuant to Tenth Circuit Rule 46.1(D)(6), this certificate must be promptly updated if the
 required information changes.
                                                 2
Appellate
      Appellate
          Case: Case:
                23-1135
                      23-1135
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                                     010110917742
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                                                         Filed: 09/12/2023
                                                                       Page: Page:
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                                 CERTIFICATE OF SERVICE

 I hereby certify that:

                 All other parties to this litigation are either: (1) represented by attorneys; or
                 (2) have consented to electronic service in this case; or

              On ____________________________ I sent a copy of this Entry of Appearance
                             [date]
 Form to:
 ______________________________________________________________________________


 at____________________________________________________________________________,


 the last known address/email address, by ____________________________________________.
                                                         [state method of service]




 _________________________
 Date

 _______________________________________
 Signature




                                                    3
